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        EXHIBIT
                   Case 1:23-cv-00079-ABJ                         Document 379-1                    Filed 10/03/24               Page 2 of 5


Patrick Murphy

From:                                           Paula Colbath <pcolbath@loeb.com>
Sent:                                           Sunday, September 29, 2024 8:51 AM
To:                                             Patrick Murphy
Cc:                                             Marc Gottlieb; murf@bcbv.net
Subject:                                        Re: BCB: Yiliang Guo Exhibits 1 7


Noted and passed on.

This will also confirm our conversation that we will not go forward tomorrow with Emory Patterson’s deposition, as the
parties are focused on efforts to resolve the matter. If settlement discussions are unsuccessful, you agreed to provide a
date in the future for Mr. Patterson’s deposition. If my understanding of our conversation is inaccurate, please let me
know ASAP.

Regards,
Paula




Paula Colbath
Partner
   •LOEB&
      LOEB
345 Park Avenue I New York NY 10154
Direct Dial: 212.407 4905 Fax: 212 407 4990               E-mail: pcolbath(ä~loeb.com
Los Angeles       New York       Chicago      Nashville     Washington, DC I San Francisco I Beijing             Hong Kong        www.loeb.com


          Mansfield Rule
          Certified 2022-2023 ~
      /

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Loeb LIP




From: Patrick Murphy <pmurphy@wpdn.net>
Sent: Sunday, September 29, 2024 10:30:46 AM
To: Paula Colbath <pcolbath@loeb.com>
Cc: Marc Gottlieb <msg@orllp.legal>; murf@bcbv.net <murf@bcbv.net>
Subject: Re: BCB: Viliang Guo Exhibits 1-7



Paula: michael Murphy’s cell phone is (720) 222-3355.
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Michael would like to Zoom with Erick this morning or early afternoon.

Headed into Mass now.

Pat



       On Sep 23, 2024, at 5:45 PM, Patrick Murphy <pmurphy@wpdn.net> wrote:


       Thank you for letting me know this, Paula.

       Pat



               On Sep 23, 2024, at 5:40 PM, Paula Colbath <pcolbath@loeb.com> wrote:


               I have no exhibits.



               Paula Colbath
               Partner
               <llhorizontal4s_26405396-a821-4bca-9601-f26107dc0e74.jpg>


               345 Park Avenue I New York, NY 10154
               Direct Dial: 212.407.4905     Fax: 212.407.4990      E-mail: pcoIbath~Ioeb corn
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               attachments without reading oi saving in any manner Thank you Loch & Loch LLP




               From: Patrick Murphy <pmurphy@wpdn.net>
               Sent: Monday, September 23, 2024 7:06:07 PM
               To: Paula Colbath <pcolbath@loeb.com>; Marc Gottlieb <msg@orllp.legal>; Feinstein,
               Marc <mfeinstein@omm.com>
               Cc: Stutz, Kate <kstutz@omm.com>; Iden, David <diden@omm.com>;
               dhirsch@omm.com <dhirsch@omm.com>; Pao, Will <wpao@cooley.com>; Khale J.
               Lenhart <KLenhart@hirstapplegate.com>; Wendy Trembath <wtrembath@wpdn.net>;
               Alex Inman <ainman@loeb.com>; David Forrest <dforrest@loeb.com>; Leily Lashkari
               <llashkari@loeb.com>; Sean Larson <slarson@hkwyolaw.com>; Kari Hartman
                                                                             2
Case 1:23-cv-00079-ABJ                          Document 379-1                      Filed 10/03/24                 Page 4 of 5

 <khartman@hkwyolaw.com>
 Subject: RE: BCB: Viliang Guo Exhibits 1-7



 Paula and Marc:

 I am waiting to receive your depositions exhibits by email. Could you please
 send those to me now so I can print them? Thank you!

 I assume you received the seven exhibits that I sent you with this morning’s
 email; right?

 Pat

                                     Patrick i. Murphy
 <imageOOl.png>
                                     Attorney at Law
         WPDN.NET                    Office: 307-265-0700
                                     pmurphy@wDdn.net
                                     159 N. Wolcott St. Suite 400(82601)
 <imageOO2.png>                      P.O. Box 10700
                                     Casper, WY 82602
 <imageOO3.png

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 From: Patrick Murphy
 Sent: Monday, September 23, 2024 10:52 AM
 To: Paula Colbath <pcolbath@loeb.com>; Marc Gottlieb <msg@orllp.Iegal>; Feinstein,
 Marc <mfeinstein@omm.com>
 Cc: Stutz, Kate <kstutz@omm.com>; Iden, David <diden@omm.com>;
 dhirsch@omm.com; Pao, Will <wpao@cooley.com>; Khale J. Lenhart
 <KLenhart@hirstapplegate.com>; Wendy Trembath <wtrembath@wpdn.net>;
 ainman@loeb.com; David Forrest <dforrest@loeb.com>; Leily Lashkari
 <llashkari@loeb.com>; Sean Larson <slarson@hkwyolaw.com>; Kari I-Iartman
 <khartman@hkwyolaw.com>
 Subject: FW: BcB: Viliang Guo Exhibits 1-7

 Dear Counsel:

 Attached please find courtesy copies of the seven (7) exhibits I have marked for Viliang
 Guo’s Zoom deposition this evening. I want all of you to have easy and ready access to
 all seven (7) exhibits. I do not anticipate “screen sharing” during my direct examination
 of Mr. Guo. Instead, I will just refer to these seven (7) exhibits.
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               Just so you know, these are exactly the same seven (7) exhibits that are attached to Mr.
               Cuo’s Mediation Affidavit. So all of you already have them.

                I will ask Wendy Trembath to forward this email to our court reporter, Randy Hatlestad.

               Paula and Marc 6: Would you please do me the return favor of sending me all of the
               documents you are going to use or mark as deposition exhibits for Mr. Guo? Thank you
               in advance.

               Thank you.

                Pat Murphy


                                                   Patricki. Murphy
                  mageOOl.png>
                                                   Attorney at Law
                       WPDN.NET                    Office: 307-265-0700
                                                   pm urphy(~wpd n .net
                                                   159 N. Wolcott St. Suite 400 (82601)
               <imageOO2 ~rng>                     P.O. Box 10700
                                                   Casper, WY82602
               <imageoO3.png

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